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 8                                  UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,
12                                                       No. CR S-02-0519 FCD
                    Plaintiff(s),
13
            v.
14
     TRINIDAD CHACON,
15   ESEQUIEL QUESADA GARCIA, and
     JOSE SANCHEZ
16
                 Defendant(s).
17   ________________________________/
18
     UNITED STATES OF AMERICA,
19                                                       No. CR S-09-0401 MCE
                    Plaintiff(s),
20
21          v.
22   JUAN MADRIGAL, aka
          Miguel Mejia Ayala, and
23        Jose Sanchez, and
     REGINO BAUTISTA-GONZALES
24                                                       RELATED CASE ORDER
25               Defendant(s).
     ________________________________/
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            Examination of the above-entitled actions reveals that they are related within the meaning
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     of Local Rule 83-123(a) (E.D. Cal. 1997). The actions involve many of the same defendants and
28
     are based on the same or similar claims, the same property transaction or event, similar questions
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 1   of fact and the same questions of law, and would therefore entail a substantial duplication of
 2   labor if heard by different judges. Accordingly, the assignment of the matters to the same judge
 3   is likely to effect a substantial savings of judicial effort and is also likely to be convenient for the
 4   parties.
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 6              The parties should be aware that relating the cases under Local Rule 83-123 merely has
 7   the result that these actions are assigned to the same judge; no consolidation of the actions is
 8   effected. Under the regular practice of this court, related cases are generally assigned to the
 9   judge and magistrate judge to whom the first filed action was assigned.
10              IT IS THEREFORE ORDERED that the actions denominated, CR S-09-0401 MCE is
11   reassigned to Judge Frank C. Damrell, Jr. for all further proceedings, and any dates currently set
12   in this reassigned case only are hereby VACATED. Henceforth, the caption on documents filed
13   in the reassigned case shall be shown as: CR S-09-0401 FCD.
14              IT IS FURTHER ORDERED that the Clerk of Court make appropriate adjustment in the
15   assignment of civil/criminal cases to compensate for this reassignment.
16              IT IS SO ORDERED.
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19   DATED: October 15, 2009
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23                                             _______________________________________
24                                             FRANK C. DAMRELL, JR.
                                               UNITED STATES DISTRICT JUDGE
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